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                                 CERTIFICATE OF SERVICE


       I, DEBRA O. FULLEM, do hereby certify that on January 31, 2014, I caused copies of the

Second Supplemental Declaration under Fed. R. Bankr. P. 2014 and 5002 in Support of the Order

Appointing Roger Frankel as Successor Asbestos PI Future Claimants’ Representative to be

served by first class mail, postage prepaid, on the parties as shown in the attached Service List.



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                                 CERTIFICATE OF SERVICE


       I, DEBRA O. FULLEM, do hereby certify that on January 31, 2014, I caused copies of the

Application of Roger Frankel, Asbestos PI Future Claimants’ Representative, for the Entry of an

Order Authorizing the Retention and Employment of Frankel Wyron LLP as Bankruptcy Co-

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                                              /S/ DEBRA O. FULLEM
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